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                                                                                          JS-6
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 8                              UNITED STATES DISTRICT COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

10
     In re:                                              District Court
11                                                       Case No. 2:20-cv-07795-DSF
     VERITY HEALTH SYSTEM OF
12   CALIFORNIA, INC., et al.,                           Bankruptcy Court
13                                                       Case No. 2:18-bk-20151-ER
                    Debtors and Debtors in
14                  Possession.                          Adversary
                                                         Case No. NONE
15

16
                                    ORDER DISMISSING APPEAL
17

18            The Court, having reviewed the Stipulation for Voluntary Dismissal of Appeal (the
19   “Dismissal Stipulation”) filed as Docket No. 7, and good cause appearing therefor,
20            IT IS HEREBY ORDERED as follows:
21            1.    The Dismissal Stipulation is approved.
22            2.    The appeal is dismissed with prejudice, with each party to bear its own fees and
23   costs on appeal.
24            IT IS SO ORDERED.
25   DATED: September 18, 2020
26                                               Honorable Dale S. Fischer
                                                 UNITED STATES DISTRICT JUDGE
27

28
      CC: US BANKRUPTCY COURT
                                                     1
                                                                                 Order Dismissing Appeal
